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                                                       US District Court Docket
                                     United States District Court, Pennsylvania Eastern
                                                                (Philadelphia)
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Header


Case Number: 2:23cv3783                                                                                              Class Code: Open
Date Filed: 09/27/2023                                                                                       Statute: 28:1332(d)(5)(B)
Assigned To: Honorable KAI N. SCOTT                                                                            Jury Demand: Plaintiff
Nature of Suit: TORTS - Personal Injury - Health                                                                 Demand Amount: $0
Care/Pharmaceutical Personal Injury/Product Liability (367)                        NOS Description: TORTS - Personal Injury - Health
Cause: Diversity of Citizenship under CAFA                                         Care/Pharmaceutical Personal Injury/Product Liability
Lead Docket: None
Other Docket: 2:23cv03663
Jurisdiction: Diversity




Participants

Litigants                                                               Attorneys
MICHELE KASPARIE                                                        JEFFREY A. BARRACK
Plaintiff                                                               ATTORNEY TO BE NOTICED
                                                                        BARRACK, RODOS & BACINE
                                                                        2001 Market Street 3300 Two Commerce Square
                                                                        Philadelphia, PA 19103-7087
                                                                        USA
                                                                        215-963-0600 Fax: 215-963-0838 Email:Jbarrack@barrack.Com
Kimberly James                                                          JEFFREY A. BARRACK
individually and on behalf of all others similarly situated |           ATTORNEY TO BE NOTICED
Plaintiff                                                               BARRACK, RODOS & BACINE
                                                                        2001 Market Street 3300 Two Commerce Square
                                                                        Philadelphia, PA 19103-7087
                                                                        USA
                                                                        215-963-0600 Fax: 215-963-0838 Email:Jbarrack@barrack.Com
Bayer Healthcare LLC
Defendant
GLAXOSMITHKLINE LLC
Defendant
KENVUE INC.
Defendant
McNeil Consumer Healthcare
Defendant
Procter & Gamble Company
Defendant
Target Corporation
Defendant
Walmart Inc


                                                                Gavin O'Hara
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 Litigants                                                          Attorneys
 Defendant
 JOHNSON & JOHNSON CONSUMER INC.
 Defendant
 Walgreen Co
 Defendant


Proceedings

 #           Date              Proceeding Text                                                          Source
 1           09/27/2023        COMPLAINT against All Defendants ( Filing fee $ 402 receipt number
                               APAEDC-16974015.), filed by KIMBERLY JAMES, MICHELE
                               KASPARIE. (Attachments: # 1 Civil Cover Sheet)(BARRACK,
                               JEFFREY) (Attachment 1 replaced on 9/28/2023) (sbt). (Entered:
                               09/27/2023)
             09/28/2023        Attorneys are required by local rule to complete and file both a Civil
                               Cover Sheet and a Designation Form. PLAINTIFF's counsel is directed
                               to file COMPLETED DESIGNATION FORM in this case using the
                               Notice (Other) docket event located in the Notices category. Form is
                               missing. (sbt) (Entered: 09/28/2023)
 2           09/28/2023        Summons Issued as to BAYER HEALTHCARE LLC,
                               GLAXOSMITHKLINE LLC, KENVUE INC., MCNEIL CONSUMER
                               HEALTHCARE, PROCTER & GAMBLE COMPANY, TARGET
                               CORPORATION, WALMART INC. EMAILED To: COUNSEL on
                               9/28/23. (jaa, ) (Entered: 09/28/2023)
 3           09/29/2023        AMENDED COMPLAINT against BAYER HEALTHCARE LLC,
                               GLAXOSMITHKLINE LLC, KENVUE INC., MCNEIL CONSUMER
                               HEALTHCARE, PROCTER & GAMBLE COMPANY, TARGET
                               CORPORATION, WALMART INC, JOHNSON & JOHNSON
                               CONSUMER INC., WALGREEN CO, filed by KIMBERLY JAMES,
                               MICHELE KASPARIE. (Attachments: # 1 Civil Cover Sheet, # 2
                               Designation Form)(BARRACK, JEFFREY) (Entered: 09/29/2023)
 4           10/02/2023        Summons Issued as to BAYER HEALTHCARE LLC,
                               GLAXOSMITHKLINE LLC, JOHNSON & JOHNSON CONSUMER
                               INC., KENVUE INC., MCNEIL CONSUMER HEALTHCARE,
                               PROCTER & GAMBLE COMPANY, TARGET CORPORATION,
                               WALGREEN CO, WALMART INC. EMAILED To: COUNSEL on
                               10/2/23. (jaa, ) (Entered: 10/02/2023)
 5           10/03/2023        WAIVER OF SERVICE Returned Executed by KIMBERLY JAMES,
                               MICHELE KASPARIE. PROCTER & GAMBLE COMPANY waiver
                               sent on 10/2/2023, answer due 12/1/2023. (BARRACK, JEFFREY)
                               (Entered: 10/03/2023)

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                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA



 MICHELLE KASPARIE and KIMBERLY                    Case No. 2:23-cv-03783
 JAMES, individually and on behalf of all
 others similarly situated,

                    Plaintiffs                     AMENDED CLASS ACTION
                                                   COMPLAINT
         v.

 BAYER HEALTHCARE LLC,
 GLAXOSMITHKLINE LLC, JOHNSON                      DEMAND FOR JURY TRIAL
 & JOHNSON CONSUMER INC.,
 KENVUE INC., MCNEIL CONSUMER
 HEALTHCARE, PROCTER & GAMBLE
 COMPANY, TARGET CORPORATION,
 WALGREEN CO., and WALMART INC.,

                    Defendants.


       Plaintiffs Michelle Kasparie (“Kasparie”) and Kimberly James (“James”) (collectively

“Plaintiffs”), individually and on behalf of all similarly situated persons who purchased over-the-

counter oral decongestant products, allege the following based upon personal knowledge as to

themselves and their own acts, and as to all other matters upon information and belief, based upon
the investigation of counsel, and further believe that substantial evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery:

I.     INTRODUCTION

       1.       Oral decongestant products, sold online and over-the-counter in retail stores, have

been relied upon by consumers for many years as an expedient way to treat nasal decongestion,

without the need or hassle involved in securing a doctor’s prescription.

       2.       One primary active ingredient that has been used by manufactures of such over-

the-counter oral decongestants is “phenylephrine.”
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       3.       Drug companies and Defendants named herein began increasingly relying upon

phenylephrine after concerns were voiced in 2006 about the use of pseudoephedrine – an

acknowledged effective active ingredient to treat nasal decongestion – as a basis for the

manufacture of illegal methamphetamine products.

       4.       The sale of oral decongestant products using phenylephrine has sky-rocketed with

sales of over $1.8 billion in the United States in 2022 alone.

       5.       Members of the consumer public, including Plaintiffs named herein and the

putative Class Members for whom this suit is brought, purchased these oral decongestant products,

often at a premium price, and were unaware of a hidden undisclosed adverse truth. Specifically,

that Phenylephrine is not effective in treating and alleviating nasal decongestion when taken

orally. Simply put – it does not work as a decongestant.

       6.       On September 12, 2023, an FDA advisory panel confirmed that phenylephrine,

when taken orally, is not effective. Meanwhile, Defendants and drug companies comprising the

oral decongestant industry, knew and certainly had reason to know, at all times material that their

oral decongestant products, more fully identified and discussed below, were no more effective than

a placebo such as a sugar pill.

       7.       Hence, while consumers have been duped for many years by “taking a drug that

has no benefit” (according to an FDA advisory panel), the oral decongestant products industry –
comprised chiefly of Defendants named herein – has profited handsomely, much to the detriment,

harm, and economic injury of Plaintiffs and putative Class Members.

       8.       Had Plaintiffs known that these oral decongestant products containing

phenylephrine as their active ingredient were simply ineffective as a nasal congestion when taken

orally, they would not have purchased them, or certainly would have paid substantially less for

them, if anything.

       9.       Accordingly, Plaintiffs, on behalf of themselves and all other purchasers of

Defendants’ phenylephrine based oral decongestant products, hereby seek to hold the Defendants
herein – all primary players in the oral decongestant products industry – accountable for their

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deceptions, breaches of warranties, and violations of relevant state or federal consumer protection

statutes.

II.     PARTIES

        A.      Plaintiffs

        10.     Plaintiff Kimberly James is, and at all times relevant was, a citizen of Florida,

residing in Tampa. Plaintiff James buys over the counter medicines containing Phenylephrine on

a periodic basis and has done so for years to treat colds and provide relief from congestion. For

example, in January 2023, Plaintiff James purchased Nyquil Severe Cold and Flu and Dayquil

Honey, both containing phenylephrine, for nasal congestion relief, at a Walgreens in Tampa,

Florida. In June 2023, Plaintiff James purchased Sudafed PE containing phenylephrine, for

congestion relief, at a Walgreens located in Tamp, Florida. In addition, Plaintiff James has

purchased Benadryl Allergy Plus Congestion, containing phenylephrine, for congestion relief.

        11.     Had Defendants disclosed that phenylephrine is not effective in relieving

congestion, Plaintiff James would not have purchased the products to orally remedy her nasal

congestion.

        12.     Plaintiff Michelle Kasparie is, and at all times relevant was, a citizen of Illinois,

residing in Liberty. Plaintiff Kasparie buys over the counter cold medicines containing

Phenylephrine on a periodic basis and has done so for years to treat colds and provide relief from
congestion. For example, In October 2022, Plaintiff Kasparie purchased Sudafed PE containing

phenylephrine, for congestion relief, at Walmart. In September 2022, Plaintiff Kasparie purchased

Alka-Seltzer Plus Severe Cold and Cough decongestant containing phenylephrine and Advil

Multi-Symptom Cold & Flu decongestant containing phenylephrine from Target.com. Similarly,

in or about October 2021, Plaintiff Kasparie purchased Equate Sudaphedrine PE decongestant

containing phenylephrine, for congestion relief, at Walmart. Plaintiff Kasparie made her Walmart

purchases at Walmart stores in Quincy, Illinois and Hannibal, Missouri.




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       13.     Had Defendants disclosed that phenylephrine is not effective in relieving

congestion, Plaintiff Kasparie would not have purchased the products to remedy her nasal

congestion.

       B.      Defendants

       14.     Defendant Procter & Gamble Company (“P&G”) is an Ohio corporation with its

principal place of business and headquarters located at One Procter & Gamble Plaza in Cincinnati,

Ohio. At all times material to this case, P&G has been engaged in the manufacturing, sale, and

distribution of misbranded and ineffective congestion products in the United States, including

Sudafed, Tylenol, and Benadryl.

       15.     Defendant GlaxoSmithKline LLC (“GSK”) is a Delaware corporation with its

headquarters and principal place of business in Philadelphia, Pennsylvania. GlaxoSmithKline is a

wholly owned subsidiary of GlaxoSmithKline PLC, a public limited company registered in

England and Wales. GlaxoSmithKline is a biopharmaceutical company that, among other oral

decongestant Products, manufactures and markets Advil and Theraflu.

       16.     Defendant Bayer Healthcare LLC (“Bayer”) is a Delaware limited liability

corporation with headquarters and a principal place of business in the State of New Jersey. Upon

information and belief, Bayer Healthcare LLC is a wholly owned subsidiary of Bayer Corporation,

an Indiana corporation with a principal place of business in the Commonwealth of Pennsylvania
(collectively “Bayer”). At all times relevant to this complaint, Defendant Bayer was engaged in

the business of manufacturing, marketing, testing, promoting, selling, and/or distributing certain

of the oral decongestant products, including but not limited to, Alka-Seltzer Plus Severe Cold and

Flu.

       17.     Defendant Walmart Inc. (“Walmart”) is a Delaware corporation with headquarters

and principal place of business in the State of Arkansas. At all times relevant to this complaint,

Walmart was engaged in the business of manufacturing, marketing, testing, promoting, selling,

and/or distributing certain of the oral decongestant products.



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       18.     Defendant Target Corporation (“Target”) is a Minnesota corporation with

headquarters and principal place of business in the State of Minnesota. At all times relevant to this

complaint, Target was engaged in the business of manufacturing, marketing, testing, promoting,

selling, and/or distributing certain of the oral decongestant products.

       19.     Defendant Walgreen Co. (“Walgreens”) is an Illinois corporation with

headquarters and principal place of business in the State of Illinois. At all times relevant to this

complaint, Walgreens was engaged in the business of manufacturing, marketing, testing,

promoting, selling, and/or distributing certain of the oral decongestant products.

       20.     Defendant McNeil Consumer Healthcare (“McNeil”) is a Pennsylvania

corporation with its principal place of business and headquarters located at 7050 Camp Hill Road,

Fort Washington, Pennsylvania. At all times material to this case, McNeil has been engaged in the

manufacturing, sale, and distribution of misbranded and ineffective oral decongestant products in

the United States, including Sudafed, Tylenol, and Benadryl.

       21.     Defendant Johnson & Johnson Consumer Inc., a McNeil Consumer Healthcare

Division, (“J&J”) is a New Jersey corporation with its headquarters and principal place of business

at 199 Grandview Road, Skillman, New Jersey, 08558. J&J manufactures, markets, advertises,

labels, distributes, and sells oral decongestant products, Sudafed PE and Benadryl Allergy Plus

Congestion.
       22.     Defendant Kenvue Inc. (“Kenvue”) is an American consumer health company, and

formerly the consumer healthcare division of Johnson & Johnson. Kenvue is headquartered in

Skillman, New Jersey. It wholly owns Defendant McNeil Consumer Healthcare. On information

and belief, all assets and liabilities associated with the oral decongestant products that had been

manufactured, marketed, and/or sold by Johnson & Johnson are now owned by Defendant Kenvue.

III.   JURISDICTION AND VENUE

       23.     This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship from
one defendant, there are more than 100 Class members nationwide, and the aggregate amount in

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controversy exceeds $5,000,000. This Court also has supplemental jurisdiction over the state law

claims because those claims are integrally related to the federal claims and form part of the same

case and controversy under 28 U.S.C. § 1367.

       24.     This Court has personal jurisdiction over Defendants by virtue of their transacting

and doing business in this District. Defendants have each purposefully availed themselves of the

benefits and protections of the Eastern District of Pennsylvania by continuously and systematically

conducting substantial business in Pennsylvania. Each of the Defendants markets and distributes

its products in the Eastern District of Pennsylvania.

       25.     The Court additionally and independently has personal jurisdiction over Defendant

GlaxoSmithKline LLC because it operates from headquarters in Philadelphia Pennsylvania and

Defendant McNeil Consumer Healthcare because it operates from headquarters in Fort

Washington, Pennsylvania.

       26.     Venue is proper pursuant to 28 U.S.C. § 1391(a) & (b) because a substantial part of

the events or omissions giving rise to the claims occurred in this District. Defendants maintain key

business operations in this district, and market and sell their products, including oral decongestant

products, as discussed below, in this District.

IV.    SUBSTANTIVE ALLEGATIONS

Oral Decongestant Products Based on Phenylephrine Are Not Effective in Alleviating Nasal
Decongestion
       27.     Oral decongestant products have typically relied on one of two active ingredients –

pseudoephedrine or phenylephrine – to alleviate congestion.

       28.     However, after a concern was raised that pseudoephedrine-based products used as

the active ingredient in oral decongestants was being misused as a base for the production of illegal

methamphetamines since 2006, federal law thereafter made products containing pseudoephedrine

inconvenient to purchase “over-the-counter.”




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       29.     As a consequence, the second major ingredient used to provide relief from nasal

congestion – phenylephrine – increasingly became the most widely used active ingredient in oral

decongestants, ultimately accounting for approximately 80% of the market for over-the-counter

decongestants in the United States.

       30.     The market for phenylephrine based on oral decongestants is worth billions and

includes over 250 such products. Annual sales of phenylephrine-based oral decongestants sold in

the United States in 2022 alone accounted for approximately $1.8 billion in sales – a huge market.

       31.     Defendants have routinely and consistently marketed their products containing

phenylephrine as an effective oral decongestant that should be used to alleviate nasal decongestion

and sinus pressure associated with colds, allergies, and other respiratory conditions.

       32.     Phenylephrine purportedly works as an oral medication by constricting blood

vessels in the nasal passages, thereby reducing swelling and congestion.            In contrast to

pseudoephedrine – which has proven to be effective as a decongestant – phenylephrine containing

products have no restrictions and are not subject to an inconvenient purchasing process because

consumers are readily able to buy those oral decongestants over-the-counter. Pseudoephedrine

based decongestants are far more difficult to purchase because of their potential for misuse as a

base for methamphetamine production, and are thereby a far less attractive option for consumers

in order to treat nasal congestion.

       33.     However, phenylephrine, when taken orally, is ineffective. It does not provide

relief from congestion and has now been shown to be no better than taking a placebo when it is

taken orally. Manufactures have been aware of the ineffectiveness of phenylephrine for a number

of years and at lease since no later than 2018.

       34.     Phenylephrine is found in many popular over-the-counter oral medications that

purportedly act as a decongestant. The more popular over-the-counter oral decongestant products
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using phenylephrine – the supposedly active ingredient that the FDA regulatory panel has found

ineffective when taken orally – include:

      Sudafed PE (Kenvue/McNeil)
      Tylenol Cold & Flu Severe (Kenvue/McNeil)
      Benadryl Allergy Plus (Kenvue/McNeil)
      Theraflu Severe Cold Relief (GlaxoSmithKline)
      Vicks Nyquil Severe Cold & Flu (Procter & Gamble)
      Vicks Nyquil Sinex (Procter & Gamble)
      Sinus PE Non-Drowsy Congestion Relief Tablets (Target)
      Wal-Phed PE Nasal Decongestant Tablets (Walgreens)
      Wal-Phed PE Sinus Congestion Day & Night Tablets (Walgreens)

       35.     The foregoing identified over-the-counter products and all oral decongestant

products manufactured and sold by the Defendants are collectively referred to herein as the “Oral

Decongestant Products” or “Defendants’ Products.”

       36.     By way of background, commencing in approximately 2007, scientific studies were

surfacing showing that phenylephrine, when taken orally, was not effective. In 2018, the FDA

issued new guidance for the industry relating to the use of nasal decongestant symptom scores to

evaluate congestion, thereby undermining the primary end-point to evaluate congestion in studies

that had been done previously. Defendants knew this. Given the FDA’s new 2018 guidance, the

Defendants certainly knew or should have known by then, at the very latest, that their marketing

claims and representations regarding the Oral Decongestant Products’ efficacy were false and

misleading.

       37.     Still, Defendants continued to market and sell their phenylephrine based Oral

Decongestant Products as effective decongestants, while even charging a premium price for such

ineffective products. Thereby simultaneously taking advantage of the controversy over

pseudoephedrine and the fact that Defendants could more readily sell their phenylephrine

containing products over-the-counter, without requiring a doctor’s prescription.


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        38.     Defendants represented and warranted at all times material that their Oral

Decongestant Products were effective for treating the indications identified and were properly

branded – representing and warranting that such Oral Decongestant Products were merchantable

and fit for their particular use, i.e., effectively treating nasal decongestion orally.

        39.     On September 12, 2023, after an analysis of prior studies, the FDA found

significant problems with phenylephrine after which a FDA advisory panel unanimously voted 16-

0 that phenylephrine is not effective for treating nasal decongestant when taken orally, and

recommending that consumers avoid unnecessary cost or delays in care by “taking a drug that

has no benefit.”

        40.     Plaintiffs are informed and believe and thereupon allege that, at all times material,

each of the Defendants named herein willfully ignored the scientific and industry knowledge

concerning the lack of effectiveness of phenylephrine for treating nasal decongestion when taken

orally, and either performed or were aware of the fact that testing and quality oversight was

inadequate to support the efficacy of phenylephrine as the active ingredient for orally treating nasal

decongestant.

        41.     Defendants knew or should have known that the primary end-point for evaluating

the efficacy of the Oral Decongestant Products had changed significantly, and that previous data

therefore did not support efficacy. They knew or should have known by at least 2018, and certainly

sooner, that their marketing claims regarding their Oral Decongestant Products’ efficacy were

simply false and misleading.

        42.     Defendants’ Oral Decongestant Products were never and currently are not

merchantable, are not fit for their ordinary purpose, and are not effective for orally treating the

indications regarding nasal decongestion and as such have been and are misbranded.



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       43.     Had Plaintiffs known that the phenylephrine containing Oral Decongestion

Products were entirely ineffective as a nasal decongestant when taken orally, they would not have

purchased them, or would have paid substantially less for them.

       44.     Accordingly, Plaintiffs, on behalf of themselves and all other purchasers of

Defendants Products, seeks to hold Defendants accountable for their deceptions, breaches of

warranties, and violations of consumer protection statutes, arising from the fact that they sold

products that they knew and should have known were ineffectual, but nevertheless continued to

market and sell anyway, at a premium price, directly and proximately causing Plaintiffs and Class

Members damages, as more fully discussed below.

Plaintiffs and Class Members Have Suffered Injury

       45.     As alleged above, the Oral Decongestant Products’ active ingredient,

phenylephrine, does not have the ability to alleviate nasal congestion, when taken orally, despite

Defendants marketing and related representations that such products alleviate nasal congestion.

       46.     The Oral Decongestant Products’ packaging and representations and omissions

lead reasonable consumers to believe that they had the ability to alleviate nasal congestion orally.

       47.     Plaintiffs did not know, and had no reason to know upon purchase, that Defendants’

Oral Decongestant Products were ineffective to alleviate nasal congestion. Not only would

Plaintiffs not have purchased the Oral Decongestant Products had Plaintiffs known that they did

not have the ability to alleviate nasal congestion, Plaintiffs would also not have been capable of

purchasing them if Defendants had done as the law required and tested said products for their

ability to alleviate nasal congestion when taken orally.

       48.     Consumers must depend on Defendants to truthfully and honestly represent and

disclose on their packaging, labels, and marketing what their Oral Decongestant Products can do,

as consumers lack the ability to test or independently ascertain or verify whether a product


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possesses the ability, quality, and characteristics that it purports to possess, especially at the point

of sale.

           49.   Defendants are leaders in the nasal decongestion health and medication market.

Reasonable consumers trusted their advertising and representations and did not know the adverse

truth Defendants concealed or omitted regarding the ability of the Oral Decongestant Products to

alleviate nasal congestion.

           50.   Defendants’ false, misleading, and deceptive misrepresentations, and material

omissions, regarding the Oral Decongestant Products’ ability to alleviate nasal congestion, are

likely to continue to deceive and mislead reasonable consumers and the public, as it has already

deceived and misled Plaintiffs and Class Members.

           51.   No reasonable consumer would have paid any amount for Oral Decongestant

Products that do not have the ability to alleviate nasal congestion even though they are marketed

to consumers as having the ability to alleviate nasal congestion.

           52.   Plaintiffs and Class members bargained for a product that has the ability to alleviate

nasal congestion when taken orally. If Plaintiffs and Class members had been informed that

Defendants’ Oral Decongestant Products do not have the ability to alleviate nasal congestion, they

would not have purchased or used them, or would have paid significantly less for them as such

omitted facts are material to their purchase decisions.

           53.   Plaintiffs and Class members were injured and suffered damages for which they are

entitled to be compensated, having paid the full purchase price of Defendants’ Products, because

the Oral Decongestant Products are worthless and have no value, as they do not have the ability to

alleviate nasal congestion when taken orally. Defendants knowingly failed to warn consumers of,

or disclose to them, this material fact.



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       54.      Plaintiffs and Class members are further entitled to statutory and punitive damages,

attorneys’ fees and costs, and any further relief this Court deems just and proper.
V.     TOLLING

       55.      Any applicable statute of limitations has been tolled by the “delayed discovery”

rule. Plaintiffs did not know (and had no way of knowing) at the time of purchase that the Oral

Decongestant Products were ineffective to treat nasal congestion because their active ingredient –

phenylephrine – was ineffective when taken orally. Defendants did not warn or inform Plaintiffs

and Class Members of this material fact, which was hidden from Plaintiffs and Class Members.

Defendants were obliged to disclose the conduct complained of herein, purposely did not do so,

and are thereby estopped from relying upon or asserting any statute of limitations in an effort to

bar any claim herein.
VI.    CLASS ACTION ALLEGATIONS

       56.      Plaintiffs bring this action individually and as a representative of all those similarly

situated, pursuant to Fed. R. Civ. P. 23, on behalf of themselves and the members of the following

proposed nationwide class (“Nationwide Class”):
             During the fullest period allowed by law, all persons who purchased one or more
             of the Oral Decongestant Products in the United States within the applicable
             statute of limitations.

       57.      Plaintiff James brings this action individually and as a representative of all those

similarly situated, pursuant to Fed. R. Civ. P. 23, on behalf of herself and the members of the

following subclass (“Florida Subclass”):

             During the fullest period allowed by law, all persons who purchased one or more
             of the Oral Decongestant Products in the State of Florida within the applicable
             statute of limitations.




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       58.      Plaintiff Kasparie brings this action individually and as a representative of all those

similarly situated, pursuant to Fed. R. Civ. P. 23, on behalf of herself and the members of the

following subclass (“Illinois Subclass”):

             During the fullest period allowed by law, all persons who purchased one or more
             of the Oral Decongestant Products in the State of Illinois within the applicable
             statute of limitations.

       59.      The foregoing Nationwide and Florida and Illinois Subclasses are sometimes

collectively referred to herein as “Class” or “Class Members.”
       60.      Specifically excluded from these definitions are: (1) Defendants, any entity in
which Defendants have a controlling interest, and their legal representatives, officers, directors,

employees, assigns and successors; (2) the Judge to whom this case is assigned and any member

of the Judge’s staff or immediate family; and (3) Class Counsel. Plaintiffs reserve the right to

amend the Class definition as necessary.

       61.      Numerosity: The members of the Class are so numerous that joinder of all

members is impracticable. While the exact number of Class Members is presently unknown, it

likely consists of at least many thousands of people collectively in the state Subclasses and

Nationwide. The number of Class Members can be determined by sales information and other

records. Moreover, joinder of all potential Class Members is not practicable given their numbers

and geographic diversity. The Class is readily identifiable from information and records in the
possession of Defendants.

       62.      Typicality: The claims of the representative Plaintiffs are typical in that Plaintiffs,

like all Class Members, were similarly impacted by Defendants’ conduct with respect to the

marketing and sale of the Oral Decongestant Products that were ineffective when taken orally as

they used phenylephrine as their active ingredient. Plaintiffs and Class Members purchased said

products at premium prices, and said products were valueless as an oral decongestant remedy. In

addition, Defendants’ misconduct is common to all putative Class Members because Defendants



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have engaged in systematic deceptive and fraudulent behavior that was deliberate and results in

the same injury to all Class Members.

       63.      Commonality: Common questions of law and fact exist as to all Class Members.

These questions predominate over questions that may affect only individual Class Members

because Defendants have acted on grounds generally applicable to the Class. Such common legal

or factual questions include, inter alia:

             a. Whether the Oral Decongestant Products are ineffective;

             b. Whether Defendants knew or reasonably should have known about the

                ineffectiveness of the Oral Decongestant Products prior to selling or distributing

                them to Plaintiffs and putative Class Members;

             c. Whether Defendants concealed from and/or failed to disclose to Plaintiffs and

                putative Class Members the truth about the Oral Decongestant Products lack of

                efficacy;

             d. Whether Defendants’ conduct was done knowingly;

             e. Whether Defendants breached the implied warranty of merchantability;

             f. Whether Defendants breached express warranties relating to said products;

             g. Whether Defendants should be ordered to disgorge all or part of the ill-gotten

                profits they received from the sale of the Oral Decongestant Products;
             h. Whether Plaintiffs and putative Class Members are entitled to damages, including

                compensatory, exemplary, and statutory damages, and the amount of such damages;

             i. Whether Plaintiffs and putative Class Members either paid a premium for the said

                products that they would not have paid but for Defendants’ false representations or

                would not have purchased them at all;

             j. Whether Plaintiffs and putative Class Members are entitled to injunctive,

                declaratory, or other equitable relief; and

             k. Whether Defendants engaged in unfair, unconscionable, or deceptive trade
                practices by selling and/or marketing the ineffective Oral Decongestant Products.

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          64.   Adequate Representation: Plaintiffs will fairly and adequately protect the

interests of putative Class Members. They have no interests antagonistic to those of Class

Members. Plaintiffs have retained attorneys experienced in the prosecution of class actions,

including consumer product cases, and Plaintiffs intend to prosecute this action vigorously.

          65.   Injunctive/Declaratory Relief: The elements of Rule 23(b)(2) are met.

Defendants will continue to commit the unlawful practices alleged herein, and Plaintiffs and Class

Members will continue to be deceived by Defendants misrepresentations and omissions and

unknowingly be exposed to damage on account thereof. Defendants have acted and refused to act

on grounds that apply generally to the Class, such that final injunctive relief, public injunctive

relief, and corresponding declaratory relief are appropriate respecting the Class as a whole.

Injunctive relief is necessary in this action.

          66.   Predominance and Superiority: Plaintiffs and Class Members have all suffered

and will continue to suffer risk of harm and damages as a result of Defendants unlawful and

wrongful conduct. A class action is superior to other available methods for the fair and efficient

adjudication of the controversy. The likelihood that individual Class Members will prosecute

separate actions is remote due to the time and expense necessary to conduct such litigation. Serial

adjudication in numerous venues is not efficient, timely, or proper. Judicial resources will be

unnecessarily depleted by resolution of individual claims. Joinder on an individual basis of many
thousands of claimants in one suit would be impractical or impossible. Individualized rulings and

judgments could result in inconsistent relief for similarly situated Plaintiffs.

          67.   Plaintiffs know of no difficulty to be encountered in the maintenance of this action

that would preclude its maintenance as a class action.
                                             COUNT I
                                   Breach of Express Warranties
          68.   Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.




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       69.     Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

their respective State Subclasses (collectively the “Class” for purposes of this Count).

       70.     Plaintiffs, and each member of the Class, formed a contract with each Defendant at

the time each Plaintiffs and Class Member purchased the Oral Decongestant Products. The terms

of the contract include the promises and affirmations of fact made by Defendants on Defendants’

Products’ packaging and through marketing and advertising, including that the product would be

effective for the indications provided. This labeling, marketing, and advertising constitute express

warranties and became part of the basis of the bargain and are part of the standardized contract

between Plaintiffs and the members of the Class and the respective Defendants whose products

they purchased.

       71.     Each of the Defendants expressly warranted that its respective Oral Decongestant

Product was fit for ordinary use and effective for the indications listed and were merchantable and

not misbranded.

       72.     Defendants sold Oral Decongestant Products that they expressly warranted were

effective at treating the indications identified and were not misbranded.

       73.     At all times relevant all fifty States and the District of Columbia and Puerto Rico

have codified and adopted the provisions of the Uniform Commercial Code: Ala. Code § 7-2-313;

Alaska Stat. § 45.02.313; Ariz. Rev. Stat. Ann. § 47-2313; Ark. Code. Ann. § 4-2-313; Cal. Com.
Code § 2313; Colo. Rev. Stat. § 4-2-313; Conn. Gen. Stat. Ann. § 42a-2-313; 6 Del. Code. § 2-

313; D.C. Code. § 28:2-313; Fla. Stat. Ann. § 672.313; Ga. Code. Ann. § 11-2-313; Haw. Rev.

Stat. § 490:2- 313; Idaho Code § 28-2-313; 810 Ill. Comp. Stat. Ann. 5/2-313; Ind. Code Ann. §

26-1-2-313; Kan. Stat. Ann. § 84-2-313; Ky. Rev. Stat. Ann. § 355.2-313; 11 Me. Rev. Stat. Ann.

§ 2-313; Md. Code. Ann. § 2-313; Mass. Gen. Law Ch. 106 § 2-313; Mich. Comp. Laws Ann. §

440.2313; Minn. Stat. Ann. § 336.2-313; Miss. Code Ann. § 75-2-313; Mo. Rev. Stat. § 400.2-313;

Mont. Code Ann. § 30-2-313; Nev. Rev. Stat. U.C.C. § 104.2313; N.H. Rev. Ann. § 382-A:2-313;

N.J. Stat. Ann. § 12A:2-313; N.M. Stat. Ann. § 55-2-313; N.Y. U.C.C. Law § 2-313; N.C. Gen.
Stat. Ann. § 25-2-313; N.D. Stat. § 41-02-313; Ohio Rev. Code Ann. § 1302.26; Okla. Stat. tit.

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12A § 2-313; Or. Rev. Stat. § 72.3130; 13 Pa. C.S. § 2313; P.R. Laws. Ann. Tit. 31, § 3841, et seq.;

R.I. Gen. Laws § 6A-2-313; S.C. Code Ann. § 36-2-313; S.D. Stat. § 57A-2-313; Tenn. Code Ann.

§ 47-2-313; Tex. Bus. & Com. Code Ann. § 2-313; Utah Code Ann. § 70A-2-313; Va. Code § 8.2-

313; Vt. Stat. Ann. 9A § 2-313; W. Va. Code § 46-2-313; Wash. Rev. Code § 62A 2-313; Wis. Stat.

Ann. § 402.313; and Wyo. Stat. § 34.1-2-313.

        74.     Defendants knew or should have known that their Oral Decongestant Products were

being manufactured and sold for the intended purpose of human consumption for treating the

indications identified (or is strictly liable in the event of lack of actual or constructive knowledge),

and impliedly warranted that their products were of merchantable quality and fit for that purpose.

        75.     Defendants breached their express warranty because each of their respective Oral

Decongestant Products were not of merchantable quality, nor fit for the product’s ordinary purpose,

and did not conform to the standards generally applicable to such goods.

        76.     Defendants’ express warranties were reflected in each of their Oral Decongestant

Products’ labeling (e.g., label, instructions, packaging) and promotion and marketing material, all

of which uniformly included and/or identified as an active ingredient for effective treatment of the

indications identified, principally nasal decongestion, when taken orally. Each of the Defendants’

product labeling and other materials were required to be truthful, accurate, and non-deceptive.

Despite this, each of the Defendants’ Oral Decongestant Products labeling and other materials
failed to and did not disclose that phenylephrine is not effective for the indications identified,

principally nasal congestion when taken orally.

        77.     Each of Defendants’ Oral Decongestant Products did not fulfill their intended

purpose. Plaintiffs and other Class Members bargained for an adequately made, adequately labeled

product that performed as warranted. But each of Defendants’ Oral Decongestant Products were

not adequately made, were not adequately labeled, and did not perform as warranted.

        78.     Plaintiffs and other Class Members purchased the Oral Decongestant Products in

reliance upon Defendants’ skill and judgment and the express warranties made associated with
their respective products.

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          79.   Plaintiffs and other Class Members were reasonably foreseeable purchasers who

would use, and consumers who would be affected, by the misbranded, ineffective Oral

Decongestant Products marketed and sold by Defendants.

          80.   The Oral Decongestant Products were not altered by Plaintiffs or Class members.

As a direct and proximate result of each Defendants’ breach of implied warranty, Plaintiffs and

other Class Members have been injured and suffered damages, in that Defendants’ Oral

Decongestant Products they purchased were so inherently flawed, unfit, or unmerchantable as to

have significantly diminished or no intrinsic market value.

          81.   To the extent applicable, pre-suit notice and/or a demand letter was sent to each

Defendant prior to the filing of the Complaint.


                                           COUNT II
                                  Breach of Implied Warranties
          82.   Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.

          83.   Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

their respective State Subclasses (collectively the “Class” for purposes of this Count).

          84.   Plaintiffs, and each member of the Class, formed a contract with Defendants at the

time Plaintiffs and the other Class Members purchased their respective Oral Decongestant

Products. The terms of the contract include the promises and affirmations of fact made by

Defendants on their products – packaging and through marketing and advertising, including that

the product would be effective for the indications provided. This labeling, marketing, and

advertising constitute, at a minimum, implied warranties of their respective products fitness and

merchantability, and became part of the basis of the bargain, between Plaintiffs and the members

of the Class and Defendants.

          85.   At all times relevant all fifty States and the District of Columbia and Puerto Rico
have codified and adopted the provisions of the Uniform Commercial Code governing the implied


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warranty of merchantability and fitness for particular purpose: Ala. Code § 7-2-314; Alaska Stat.

§ 45.02.314; Ariz. Rev. Stat. Ann. § 47-2314; Ark. Code. Ann. § 4-2-314; Cal. Com. Code § 2314;

Colo. Rev. Stat. § 4-2-314; Conn. Gen. Stat. Ann. § 42a-2-314; 6 Del. Code. § 2-314; D.C. Code.

§ 28:2-314; Fla. Stat. Ann. § 672.314; Ga. Code. Ann. § 11-2-314; Haw. Rev. Stat. § 490:2- 314;

Idaho Code § 28-2-314; 810 Ill. Comp. Stat. Ann. 5/2-314; Kan. Stat. Ann. § 84-2-314; Ky. Rev.

Stat. Ann. § 355.2-314; La. Civ. Code Ann. Art. § 2520; 11 Me. Rev. Stat. Ann. § 2-314; Md. Code.

Ann. § 2-314; Mass. Gen. Law Ch. 106 § 2-314; Mich. Comp. Laws Ann. § 440.2314; Minn. Stat.

Ann. § 336.2-314; Miss. Code Ann. § 75-2-314; Mo. Rev. Stat. § 400.2-314; Mont. Code Ann. §

30-2-314; Nev. Rev. Stat. U.C.C. § 104.2314; N.H. Rev. Ann. § 382-A:2-314; N.J. Stat. Ann. §

12A:2-314; N.M. Stat. Ann. § 55-2-314; N.Y. U.C.C. Law § 2-314; N.C. Gen. Stat. Ann. § 25-2-

314; N.D. Stat. § 41-02-314; Ohio Rev. Code Ann. § 1302.27; Okla. Stat. tit. 12A § 2-314; Or.

Rev. Stat. § 72.3140; 13 Pa. C.S. § 2314; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I. Gen. Laws

§ 6A-2-314; S.C. Code Ann. § 36-2-314; S.D. Stat. § 57A-2-314; Tenn. Code Ann. § 47-2-314;

Tex. Bus. & Com. Code Ann. § 2-314; Utah Code Ann. § 70A-2-314; Va. Code § 8.2-314; Vt. Stat.

Ann. 9A § 2-314; W. Va. Code § 46-2-314; Wash. Rev. Code § 62A 2-314; Wis. Stat. Ann. §

402.314; and Wyo. Stat. § 34.1-2-314.

       86.     Each Defendant was a merchant within the meaning of the above statutes.

       87.     Each of the Defendants respective Oral Decongestant Products constituted “goods”
or the equivalent within the meaning of the above statutes. Each of the Defendants placed their

Oral Decongestant Products in sealed packaging or other closed containers and placed them on the

market and in the stream of commerce in this District and across the United Stated.

       88.     Each of the Defendants impliedly warranted that its respective Oral Decongestant

Products were fit for ordinary use and effective for the indications listed and were merchantable

and not misbranded.

       89.     Each of the Defendants sold their respective Oral Decongestant Products that they

impliedly warranted to be effective at treating the indications identified and were not misbranded.



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        90.     Each of the Defendants knew or should have known that their respective Oral

Decongestant Products were being manufactured and sold for the intended purpose of human

consumption for treating the indications identified (or is strictly liable in the event of lack of actual

or constructive knowledge), and impliedly warranted that their PE Drugs were of merchantable

quality and fit for that purpose.

        91.     Defendants breached their implied warranties because the Oral Decongestant

Products were not of merchantable quality, nor fit for the product’s ordinary purpose, and did not

conform to the standards generally applicable to such goods.

        92.     Plaintiffs and other Class members purchased the Oral Decongestant Products in

reliance upon Defendants’ skill and judgment and the implied warranties of their fitness for the

particular purpose.

        93.     Defendants’ Oral Decongestant Products did not fulfill their intended purpose were

not adequately made, were not adequately labeled, and did not perform as warranted. Plaintiffs

and other Class Members bargained for an adequately made and adequately labeled product that

performed as warranted, which the products were not.

        94.     Defendants’ implied warranties were reflected in each of their respective Oral

Decongestant Products labeling (e.g., label, instructions, packaging) and promotion and marketing

material, all of which uniformly utilized phenylephrine as an active ingredient for the treatment of
the indications identified, principally nasal decongestion, which product labeling and other

materials was required to be truthful, accurate, and non-deceptive. Defendants’ Products labeling

and other materials did not disclose that phenylephrine is not effective for the indications

identified, principally nasal congestion when taken orally.

        95.     Plaintiffs and the other Class Members were reasonably expected purchasers who

would use, consumer or be affected by the misbranded, ineffective Oral Decongestant Products

marketed and sold by Defendants.

        96.     Plaintiffs and the other Class Member were the intended third-party beneficiary
recipients of all arrangements Defendant had with downstream resellers of Defendants’ Products.

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          97.      Plaintiffs and the other Class Member were those for whose benefit any promises,

affirmations, or warranties were made by Defendants concerning the oral decongestant products,

as they were the intended end purchasers and end users of Defendants’ Products, which Defendants

knew by virtue of their position as manufacturers and sellers.

          98.      The oral decongestant products were not altered by Plaintiffs or Class members.

As a direct and proximate result of Defendants breach of implied warranty, Plaintiffs and other

Class Members have been injured and suffered damages, in that they purchased Defendants’

Products that were so inherently flawed, unfit, or unmerchantable as to have significantly

diminished or no intrinsic market value.

          99.      To the extent applicable, pre-suit notice and/or a demand letter was sent to each

Defendant prior to the filing of the Complaint.


                                           COUNT III
                Violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq.

          100.     Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.

          101.     Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

their respective State Subclasses (collectively the “Class” for purposes of this Count).

          102.     Each Defendant is a “warrantor” within the meaning of the Magnuson-Moss

Warranty Act.

          103.     Plaintiffs and other Class Members are “consumers” within the meaning of the

Magnuson-Moss Warranty Act.

          104.     Defendants expressly or impliedly warranted their Oral Decongestant Products as

alleged in the foregoing causes of action.

          105.     Under 15 U.S.C. § 2310(d)(1), Plaintiffs and other Class Members were “damaged

by the failure of a supplier, warrantor, or service contractor to comply with any obligation under
this chapter, or under a written warranty, implied warranty, or service contract, may bring suit for

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damages and other legal and equitable relief.” 15 U.S.C. § 2310(d)(1). Plaintiffs sue pursuant to

this section to recover money damages and for legal and equitable relief on behalf of themselves

and the Class Members.

          106.   Defendants has not cured their failure with respect to their warranted Oral

Decongestant Products.

          107.   Likewise, pursuant to 15 U.S.C. § 2310(d)(2), upon prevailing in this action,

Plaintiffs are entitled to receive an award of attorneys’ fees and expenses.

                                         COUNT IV
                               Fraud By Omission or Concealment

          108.   Plaintiffs repeat and incorporate the preceding paragraphs, as if fully set forth

herein.

          109.   Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

the State Classes (collectively, the “Class,” for purposes of this Count).

          110.   Defendants intentionally and knowingly falsely concealed, suppressed and/or

omitted material facts including as to the standard, quality, or grade of the Oral Decongestant

Products.

          111.   Defendants knew that phenylephrine is ineffective at safe dosages when consumed

orally.

          112.   Defendants were obligated to inform Plaintiffs and the other members of the Class

of the lack of effectiveness of phenylephrine due to their exclusive and superior knowledge of the

Oral Decongestant Products. Plaintiffs and other Class members also expressly reposed a trust and

confidence in Defendants because the nature of their dealings as a healthcare entity and with

Plaintiffs and other members of the Class as their consumers.

          113.   Plaintiffs and the other Class members would not have purchased the Oral

Decongestant Products but for Defendants’ omissions and concealment of material facts regarding

the nature, quality, and efficiency of the Oral Decongestant Products, or would have paid less for
the Oral Decongestant Products.

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          114.   Defendants knew their concealment and suppression of material facts was false and

misleading and knew the effect of concealing those material facts.

          115.   Defendants acted with malice, oppression, and fraud.

          116.   Plaintiffs and the other Class Members were deceived by Defendants’ knowing,

affirmative, and active false concealment and omissions. As a direct and proximate result of

Defendants’ omissions and active concealment of material facts regarding the Oral Decongestant

Products, Plaintiffs and the other Class members have suffered actual damages in an amount to be

determined at trial.

                                           COUNT V
                            Negligent Misrepresentation and Omission

          117.   Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.

          118.   Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

their respective State Subclasses (collectively, the Class for purposes of this Count).

          119.   Defendants had or undertook a duty to represent to the effectiveness of their Oral

Decongestant Products accurately and truthfully.

          120.   Defendants failed to exercise ordinary care in making representations (or in failing

to disclose facts) concerning the effectiveness of their Oral Decongestant Products.

          121.   Defendants negligently misrepresented or omitted facts regarding the effectiveness

of their Oral Decongestant Products.

          122.   Defendants’ statements were false at the time the misrepresentations or material

omissions were made or occurred.

          123.   Defendants knew, and, upon the exercise of reasonable diligence, reasonably should

have known, that their representations regarding their Oral Decongestant Products were materially

false or misleading, or that omission of material facts rendered such representations false or

misleading. Defendants also knew, or had reason to know, that their misrepresentations and



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omissions would induce Class Members to make purchases of each Defendants’ Oral Decongestant

Products.

          124.   Defendants had a duty to exercise reasonable care in the manufacture, quality

control, distribution, and marketing of their Oral Decongestant products. Their failure to exercise

this duty, in spite of knowing or recklessly disregarding the lack of effectiveness of Defendants’

Products meant that they could not assure such Products were effective.

          125.   As a direct and proximate result of Defendants’ acts and omissions described

herein, Plaintiffs and other Class Members have suffered harm, and will continue to do so.

          126.   Defendants’ misrepresentations or omissions were material and a substantial factor

in Plaintiffs’ and other Class Members’ paying for the Oral Decongestant Products.

          127.   Defendants intended their misrepresentations or omissions to induce Plaintiffs and

Class Members to make purchases of said Products or had reckless disregard for same.

          128.   But for these misrepresentations (or omissions), Plaintiffs and other Class Members

would not have made purchases of Defendants’ said Products.

          129.   Plaintiffs and other Class Members were justified in relying on Defendants’

misrepresentations or omissions. The same or substantively identical misrepresentations were

communicated, and/or the same or substantively identical omissions were not communicated, to

each Class Member.
          130.   Plaintiffs and other Class Members were damaged by reason of each Defendants’

misrepresentations or omissions alleged herein.

                                             COUNT VI
                                             Negligence
          131.   Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.

          132.   Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

their respective State Subclasses (collectively, the Class for purposes of this Count).



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         133.   Defendants owed a duty to Plaintiffs and the Class to use and exercise reasonable

and due care in the manufacturing and sale of their Oral Decongestant Products.

         134.   Defendants owed a duty to Plaintiffs and the Class to ensure that their Oral

Decongestant Products sold in the United States were effective for the indications identified and

not misbranded.

         135.   Defendants owed a duty of care to Plaintiffs and the Class because they were the

foreseeable, reasonable, and probable user of PE Drugs and victim of Defendants’ fraudulent and

deceptive activities. Defendants knew, or in the exercise of reasonable care should have known,

that their Oral Decongestant Products were not effective for treating the indications identified and

were misbranded.

         136.   Defendants failed to remedy the defect of their Oral Decongestant Products, or

otherwise adequately and timely alert Plaintiffs and Class Members to this. Each of the Defendants

inadequately oversaw the manufacture and sale of its own Oral Decongestant Products and knew

that ignoring the manufacturing issues surrounding them would damage Plaintiffs and the Class,

while increasing their own profits.

         137.   Defendants maintained or should have maintained a special relationship with

Plaintiffs and the Class, as they were obligated to ensure that their respective Oral Decongestant

Products were effective to treat the indications identified and not misbranded.
         138.   Defendants’ own actions and inactions created a foreseeable risk of harm to

Plaintiffs and the Class. Each Defendant’s misconduct included, but was not limited to, failing to

oversee actions taken in the manufacture and sale of their PE Drugs.

         139.   Each Defendant breached duties owed to Plaintiffs and the Class by failing to

exercise reasonable care sufficient to protect the interests and meet the needs of Plaintiffs and the

Class.

         140.   As a direct and proximate result of each Defendants’ negligence, Plaintiffs and the

Class have suffered injury and are entitled to damages in an amount to be proven at trial.



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                                            COUNT VII
                                          Negligence Per Se
          141.   Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.

          142.   Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

their respective State Subclasses (collectively, the Class for purposes of this Count).

          143.   Defendants owed a duty to Plaintiffs and the Class to use and exercise reasonable

and due care in the manufacturing, marketing, and sale of their respective Oral Decongestant

Products.
          144.   Defendants owed a duty to Plaintiffs and the Class to ensure that their respective

Oral Decongestant Products sold in the United States were effective at treating the indications

identified and were not misbranded or misrepresented.

          145.   Each Defendant owed a duty to Plaintiffs and the Class because each state, territory,

and possession has adopted/or adheres to federal standards, including but not limited to the

following parallel state statutes:

                       Alabama Code §§ 20-1-24 and -27(1);
                       Alaska Statutes § 17.20.290(a)(1);
                       Arizona Statutes §§ 32-1965(1), (2) and -1966(3);
                       Arkansas Code § 20-56-215(1);
                       California Health and Safety Code §§ 111295 and 111400;
                       Colorado Statutes §§ 25-5-403(1)(a),(b) and -414(1)(c);
                       Title 16, Delaware Code §§ 3302 and 3303(2);
                       District of Columbia Code § 48-702(2);
                       Florida Statutes §§ 499.005(1) and .006(3);
                       Georgia Code § 26-3-3(1);
                       Hawaii Revised Statutes §§ 328-6(1) and -14(1)(B)(ii);
                       Idaho Code § 37-115(a);
                       Chapter 410, Illinois Statutes §§ 620/3.1 and /14(a)(2)(B);
                       Iowa Code §§ 126.3(1) and .9(1)(c);
                       Kentucky Statutes § 217.175(1);
                       Maryland Code, Health–General §§ 21-216(c)(5)(2) and -256(1);
                       Massachusetts General Laws chapter 94 §§ 186 and 190;
                       Minnesota Statutes §§ 151.34(1) and .35(1);


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                       Missouri Statutes § 196.015(1);
                       Montana Code §§ § 50-31-305(3) and -501(1);
                       Nebraska Revised Statutes §§ 71-2461(2) and -2481;
                       Nevada Statutes § 585.520(1);
                       New Hampshire Revised Statutes §§ 146:1(I) and :4(V);
                       New Mexico Statutes §§ 26-1-3(A) and -10(A);
                       New York Education Law § 6811;
                       North Dakota Century Code §§ 19-02.1-02(1) and .1-13(3);
                       Ohio Code § 3715.52(A)(1);
                       Oklahoma Statutes title 63 § 1-1402(a);
                       Title 35, Pennsylvania Statutes § 780-113(a)(1);
                       Title 21, Rhode Island General Laws § 21-3-3(1);
                       South Carolina Code §§ 39-23-30(a)(2)(B) and -80(A)(1);
                       South Dakota Code §§ 39-15-3 and -10;
                       Title 18, Vermont Statutes § 4052(1);
                       Virginia Code § 54.1-3457(1);
                       West Virginia Code §§ 16-7-1 and -2(a)(3); and
                       Wyoming Statutes §§ 35-7-111(a)(i)–(iv), (vi) and -116.
          146.   Defendants failed to comply with federal standards, including branding standards.

As a result of the Defendants’ failure to do so, their actions and inactions created a foreseeable risk

of harm to Plaintiffs and the Class.

          147.   As a direct and proximate result of the Defendants’ negligent conduct, Plaintiffs

and Class Members have suffered injury and are entitled to damages in an amount to be proven at

trial.
                                           COUNT VIII
                                         Unjust Enrichment

          148.   Plaintiffs repeat and incorporate the preceding paragraphs, as if fully set forth

herein.

          149.   Plaintiffs bring this claim on behalf of the Nationwide Class or, in the alternative,

the State Classes (collectively, the “Class,” for purposes of this Count).

          150.   There are no material differences in the elements of the unjust enrichment cause of

action in the various states. In all states, the focus of an unjust enrichment claim is whether the
defendant was unjustly enriched. At the core of each state’s law are two fundamental elements –


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the defendant received a benefit from the plaintiff and it would be inequitable for the defendant to

retain that benefit without compensating the plaintiff. The focus of the inquiry is the same in each

state. Since there is no material conflict relating to the elements of unjust enrichment between the

different jurisdictions from which class members will be drawn, the law of the forum applies to

those claims.

          151.   Defendants’ efforts include, but are not limited to, providing point-of-sale materials

and coupons to entice Plaintiffs and the other Class Members to purchase their Oral Decongestant

Products.

          152.   Plaintiffs and all other Class members conferred a benefit on Defendants by

purchasing their Oral Decongestant Products.

          153.   Defendants have been unjustly enriched in retaining the revenues derived from

Class Members’ purchases of their Oral Decongestant Products, which retention under these

circumstances is unjust and inequitable because Defendants misrepresented that the Oral

Decongestant Products were effective for providing congestion relief when in fact they were not,

which caused injuries to Plaintiffs and all Class members because they paid a price premium due

to Defendants’ deception.

          154.   Because Defendants’ retention of the non-gratuitous benefit conferred on it by

Plaintiffs and all Class members is unjust and inequitable, Defendants must pay restitution to
Plaintiffs and the Class Members for their unjust enrichment, as ordered by the Court.

                                            COUNT IX
                           Violation of State Consumer Protection Laws

          155.   Plaintiffs re-allege and incorporate the preceding paragraphs as if fully set forth

herein.

          156.   Defendants violated the following consumer protection statutes with respect to the

respective Florida and Illinois Subclasses as follows:

                 a.     Defendant have engaged in unfair competition or unfair or deceptive acts or
                        practices in violation of Fla. Stat. § 501.201, et seq.;

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               b.      Defendants have engaged in unfair competition or unfair or deceptive acts

                       or practices in violation 815 ILCS 505/1, et seq.;

               c.      Defendants have engaged in unfair competition or unfair or deceptive acts

                       or practices in violation of 73 Pa. Stat. § 201-1, et seq.;

       157.    Defendants’ conduct constitutes trade or commerce or other actionable activity

within the meaning of the above statutes.

       158.    Plaintiffs and the Class Members are consumers or persons aggrieved by

Defendants’ misconduct within the meaning of the above statutes.

       159.    Defendants’ conduct as alleged herein constitutes unfair, deceptive, misleading, or

otherwise actionable practices with respect to the purported effectiveness of their respective Oral

Decongestant products taken orally for treating the indications identified.

       160.    To the extent applicable, Defendants knew, intended, or should have known that

their fraudulent and deceptive acts, omissions, or concealment would induce reliance and that

reliance can be presumed under the circumstances. As a direct and proximate result of Defendants’

unfair methods of competition and unfair or deceptive acts or practices, Plaintiffs and other Class

Members have suffered damages– an ascertainable loss – in an amount to be proved at trial.

       161.    To the extent applicable, pre-suit notice and/or a demand letter was sent to each

Defendant prior to the filing of the Complaint.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class, pray for relief

and judgment against Defendants as follows:

       A.      certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,

appointing Plaintiffs as representatives of the Class, and designating Plaintiffs’ counsel as Class

Counsel;




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       B.         declaring that Defendants’ conduct violates the laws referenced herein;

       C.         finding in favor of Plaintiffs and the Class on all counts asserted herein;

       D.         awarding Plaintiffs and the Class compensatory damages and actual damages,

trebled, in an amount exceeding $5,000,000, to be determined by proof;

       E.         awarding Plaintiffs and the Class appropriate relief, including actual, nominal and

statutory damages;

       F.         awarding Plaintiffs and the Class punitive damages;

       G.         awarding Plaintiffs and the Class civil penalties;

       H.         granting Plaintiffs and the Class declaratory and equitable relief, including

restitution and disgorgement;

       I.         enjoining Defendants from continuing to engage in the wrongful acts and practices

alleged herein;

       J.         awarding Plaintiffs and the Class the costs of prosecuting this action, including

expert witness fees;

       K.         awarding Plaintiffs and the Class reasonable attorneys’ fees and costs as allowable
       by law;

       L.         awarding pre-judgment and post-judgment interest; and

       M.         granting any other relief as this Court may deem just and proper.




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                                 JURY TRIAL DEMANDED

      Plaintiffs hereby demand a trial by jury on all issues so triable.

Dated: September 29, 2023                            Respectfully submitted,

                                                      /s/ Jeffrey A. Barrack
                                                     BARRACK, RODOS & BACINE
                                                     Jeffrey W. Golan
                                                     Jeffrey A. Barrack
                                                     Andrew J. Heo
                                                     jgolan@barrack.com
                                                     jbarrack@barrack.com
                                                     aheo@barrack.com
                                                     3300 Two Commerce Square
                                                     2001 Market Street
                                                     Philadelphia, PA 19103
                                                     Telephone: (215) 963-0600
                                                     Facsimile: (215) 963-0838

                                                     BARRACK RODOS & BACINE
                                                     Stephen R. Basser*
                                                     Samuel M. Ward*
                                                     sbasser@barrack.com
                                                     sward@barrack.com
                                                     One America Plaza
                                                     600 West Broadway, Suite 900
                                                     San Diego, CA 92101
                                                     Telephone: (619) 230-0800
                                                     Facsimile: (619) 230-1874

                                                     EMERSON FIRM, PLLC
                                                     John G. Emerson*
                                                     jemerson@emersonfirm.com
                                                     2500 Wilcrest Drive, Suite 300
                                                     Houston, TX 77042
                                                     Telephone: (800) 551-8649
                                                     Facsimile: (501) 286-4659

                                                     Attorneys for Plaintiffs and the Putative
                                                     Nationwide Class, Florida Class and Illinois
                                                     Class

                                                     *Application for Admission Pro Hac Vice to
                                                     be filed


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JS 44 (Rev. 04/21)               Case MDL No. 3089CIVIL
                                 Case2:23-cv-03783-KNS  COVER
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
          Michele Kasparie and Kimberly James                                                               Bayer Healthcare LLC, et al.

   (b) County of Residence of First Listed Plaintiff                                                       County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

      Jeffrey A. Barrack, Barrack, Rodos & Bacine, 3300 Two
      Commerce Square, 2001 Market Street, Philadelphia,
      PA 19103 (215) 963-0600
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                      PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                        Citizen of This State          ✖ 1        ✖ 1      Incorporated or Principal Place      ✖ 4    ✔ 4
                                                                                                                                                       of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                              Citizen of Another State          ✔ 2     ✖    2   Incorporated and Principal Place     ✖   5    ✖ 5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                  Citizen or Subject of a           ✖ 3     ✖    3   Foreign Nation                       ✖   6    ✖ 6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                               FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                 365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability             690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability             ✖ 367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability        380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                                or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                            462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                      Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          ✖ 2   Removed from            ✖    3    Remanded from               ✖ 4 Reinstated or       ✖      5 Transferred from    6 Multidistrict
                                                                                                                                                     ✖                            ✖ 8 Multidistrict
       Proceeding              State Court                       Appellate Court                 Reopened                     Another District        Litigation -                      Litigation -
                                                                                                                              (specify)               Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1332(d)
VI. CAUSE OF ACTION Brief description of cause:
                                       Consumer class action arising from misleading marketing of nasal decongestants
VII. REQUESTED IN     ✖ CHECK IF THIS IS A CLASS ACTION                                              DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                JURY DEMAND:                 ✖ Yes           No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE  Kai N. Scott                                                                            DOCKET NUMBER 2:23cv3663 and MDL 23-3089
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
9/29/2023                                                             /s/ Jeffrey A. Barrack
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                      JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case
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                                  MDL No. 3089 Document
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
05/2023                        Case
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                                    MDL No. 3089 Document
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                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)


    Address of Plaintiff:         See attachment.

                          See attachment.
    Address of Defendant:_______________________________________________________________________________________

    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
      Case Number:______________________
                  2:23cv3663 and MDL 23-3089Judge:________________________________
                                                     Kai N. Scott                  Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year                                   Yes             No
                 previously terminated action in this court?
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
                 Pending or within one year previously terminated action in this court?                                                             Yes      X      No
           3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
                 Numbered case pending or within one year previously terminated action of this court?                                               Yes             No
           4.    Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                 by the same individual?                                                                                                            Yes             No
      I certify that, to my knowledge, the within case X is /                    is not related to any now pending or within one year previously terminated
      action in this court except as note above.
      DATE:                                    ____________________________________                                                  78438
                                                                                                                               ________________________________
                                                      Attorney-at-Law (Must sign above)                                             Attorney I.D. # (if applicable)



      Civil (Place a √ in one category only)

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                              X 6. Other Personal Injury (Please specify):________________
                                                                                                                                      Pharmaceutical
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                                _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. All Other Federal Question Cases. (Please specify):_____________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

           Jeffrey A. Barrack
      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                X         Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:
                X         Relief other than monetary damages is sought.


              September 29, 2023
      DATE: ____________________________                              ______________________________________                                    78438
                                                                                                                                        __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
       Case
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                           UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


MICHELLE KASPARIE and KIMBERLY
JAMES, individually and on behalf of all     Case No. 2:23-cv-03783
others similarly situated,

                  Plaintiffs

       v.

BAYER HEALTHCARE LLC,
GLAXOSMITHKLINE LLC, JOHNSON
& JOHNSON CONSUMER INC.,
KENVUE INC., MCNEIL CONSUMER
HEALTHCARE, PROCTER & GAMBLE
COMPANY, TARGET CORPORATION,
WALGREEN CO., and WALMART INC.,

                  Defendants.



                               Designation Form Attachment

Addresses of Plaintiffs:                     Addresses of Defendants:

Michelle Kasparie                            Bayer Healthcare LLC (Parent: Bayer
2301 N. 900th Avenue                         Corporation)
Liberty, IL 62347                            100 Bayer Boulevard
                                             Whippany, NJ 07981
Kimberly James
3733 Fairview Cove Ln., Apt. 304             GlaxoSmithKline LLC
Tampa, FL 33619
                                             2929 Walnut Street, Suite 1700
                                             Philadelphia, PA 19104

                                             Johnson & Johnson Consumer Inc.
                                             199 Grandview Road
                                             Skillman, NJ 08558

                                             Kenvue Inc.
                                             199 Grandview Road
                                             Skillman, NJ 08558
       Case
       Case2:23-cv-03783-KNS
            MDL No. 3089 Document
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Addresses of Plaintiffs:                  Addresses of Defendants:

                                          McNeil Consumer Healthcare
                                          7050 Camp Hill Road
                                          Fort Washington, PA 19034

                                          Proctor & Gamble Company
                                          One Proctor & Gamble Plaza
                                          Cincinnati, OH 45202

                                          Target Corporation
                                          1000 Nicollet Mall
                                          Minneapolis, MN 55403

                                          Walgreen Co. (Parent: Walgreens Boots
                                          Alliance, Inc.)
                                          108 Wilmot Road
                                          Deerfield, IL 60015

                                          Walmart Inc.
                                          702 S.W. 8th Street
                                          Bentonville, AR 72716




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